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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 23-MJ-48
JAY MATTHEW KENYON, : VIOLATIONS:
: 18 0U.S.C. § 231(a)G)
Defendant. : (Civil Disorder)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT 1
On or about January 6, 2021, within the District of Columbia, JAY MATTHEW
KENYON, committed and attempted to commit an act to obstruct, impede, and interfere with a

law enforcement officers lawfully engaged in the lawful performance of their official duties

incident to and during the commission of a civil disorder which in any way and degree obstructed,
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delayed, and adversely affected commerce and the movement of any article and commodity in
commerce and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT 2
On or about January 6, 2021, within the District of Columbia and elsewhere, JAY
MATTHEW KENYON, attempted to, and did, corruptly obstruct, influence, and impede an
official proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of
the Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.
(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
COUNT 3
On or about January 6, 2021, in the District of Columbia, JAY MATTHEW KENYON,
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT 4
On or about January 6, 2021, in the District of Columbia, JAY MATTHEW KENYON,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity

to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
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area within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT 5
On or about January 6, 2021, in the District of Columbia, JAY MATTHEW KENYON,
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT 6
On or about January 6, 2021, in the District of Columbia, JAY MATTHEW KENYON,
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G)) .

A TRUE BILL:

FOREPERSON.

Ptr bj Ths

Attorney of the United States in
and for the District of Columbia.
